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           EXHIBIT 4
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                                         DISTRICT OF COLUMBIA
                                        DEPARTMENT OF CORRECTIONS



Program                                        OPI:         RECORDS

Statement                                      Number:
                                               Date:
                                               Subject:
                                                            4020.2
                                                            September 15, 2000
                                                            Admissions Process



1. PURPOSE AND SCOPE. To establish procedures for a standardized identification
   and admission process for inmates committed to the D. C. Department of
   Corrections (DCDC).

2. PROGRAM OBJECTIVES. The expected results of this program are:

   a. The DCDC will have legal commitment documents on each inmate committed to
      DCDC custody.

   b. All commitment documentation will be accurate and complete.

3. DIRECTIVES REFERENCED. PS 4353.1A Inmate Transfer and Release (9/15/00)

4. AUTHORITY. D.C. Code § 24-442

5. STANDARDS REFERENCED

   a. American Correctional Association (ACA) 3 rd Edition Standards for Adult Local
      Detention Facilities: 3-ALDF-1F-04, 3 -ALDF-1F-07, 3-ALDF-1F-08, and 3-ALDF-
      4A-01.

   b. American Correctional Association 3 rd Edition Standards for Adult Correctional
      Institutions: 3-4272.

   c. American Correctional Association 3 rd Edition Standards for Adult Community
      Residential Services: 3 -ACRS-4A-01, 3 -ACRS-4A-03

6. RESPONSIBILITIES

   a. The Warden shall ensure adequate coverage in the Receiving & Discharge
      (R&D) Control Unit to implement this Program Statement.
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  b. The Supervisory Legal Instruments Examiner (SLIE) shall ensure a Legal
     Instruments Examiner (LIE) is assigned to the R&D Control Unit daily from
     11:30 a.m. until the last bus arrives each evening to receive, review, and identify
     commitment documents and issue DCDC numbers.

  c. The SLIE shall provide oversight for the LIE assigned to the R&D Control Unit to
     ensure the LIE is actively working with the R&D staff when inmates are being
     processed into R&D.

7. EXPLANATION OF TERMS RELEVANT TO THE ADMISSIONS PROCESS

  a. Commitment Documents: The papers that give DCDC the right to take a
     person into custody and detain him or her. There are number of various types
     which are discussed below.

  b. Commitment Orders: Legal documents issued by D. C. Superior Court and
     U.S. District Court setting forth the case number, charge, the bond amount (if
     set), the Judge’s, Commissione r’s or Magistrate’s signature and court seal.
     U. S. District Court commitments may contain the signature of the Clerk or
     Deputy Clerk. Attachments 1 and 2 are examples.

  c. Commitment of Inmate Returned from Escape: Commitment of an individual
     who has escaped from the DCDC. A recommit sheet (Attachment 11) is
     prepared by the R&D Control Unit for these cases.

  d. Commitment on Writ of Habeas Corpus: An order to produce an inmate to the
     U.S. District or D.C. Superior Court. There are two kinds of writs:

       (1) Writ of Ad Prosequendum (Attachment 3): Inmate produced for prosecution.

       (2) Writ of Testificandum (Attachment 4): Inmate produced to testify as a
           witness.

  e. Court Return: An inmate returning to the facility from court on the same day
     that he or she left. There are instances when an inmate is removed from the
     D.C. Superior Court or U.S. District Court for an appearance in another
     jurisdiction. This inmate is classified as a “court return” if he or she returns on
     the same day.

  f. Detainer: A notification filed with the Records Office that advises the facility that
     an inmate is wanted in connection with the commission of an offense in another
     jurisdiction and a warrant is on file for his or her arrest or service of sentence.

  g. Inmate Remand Order (US Marshal’s Forms 40 & 41, Attachments 6 and 7,
     respectively): Documents issued by the U.S. Marshals to detain intransit inmates
     for safekeeping for other jurisdictions pending further transfer.
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h. Inmate (Prisoner) Return Form: A document utilized to return inmates to D.C.
   Jail following scheduled court proceedings.

i. Inter-Institutional Transfer (IIT): The transfer of inmates between the Central
   Detention Facility (CDF) CCA/CTF, Halfway Houses, Contract Facilities and
   Lorton Facilities. Transfers occur on a daily basis and for various reasons.

j. Intransit: An inmate committed by a Deputy U.S. Marshal from any jurisdiction
   other than the District of Columbia for overnight housing or for less than one
   working day. In some cases, an intransit inmate may stay over a weekend
   and/or a holiday.

k. Judgment and Commitment/Probation Order (J&C) (Attachment 2): A legal
   document issued by D.C. Superior Court and/or by U.S. District Court setting
   forth the sentence and ordering the defendant committed to custody or placing
   the defendant on probation.

l. Magistrate Commitment: A pretrial commitment issued by the U.S. District
   Court for U.S. District Court and D.C. Superior Court cases.

m. Movement Sheet: A document used to record all inmate movements to or from
   the facility. This document is also used to document the inmate population
   count.

n. New Inmate: An inmate committed from Court with commitment documentation
   and/or J&C order.

o. Parole Violation Warrant: A document issued by the U.S. Parole Commission
   (attachment 8) (or the D.C. Board of Parole, Attachment 9) that authorizes the
   arrest of a parole violator. A recommit sheet is prepared by the R&D Control
   Unit. If the parole violator warrant is the only commitment document to detain the
   inmate, staff shall ensure the warrant is executed by the arresting officer.

p. Recommitment : An inmate incarcerated in the DCDC as a parole violator,
   work release violator, escapee, removal from a community correctional center, or
   a return from study case who has previously been in a DCDC facility. An inmate
   returned from another state or federal facility may also be classified as a
   recommitment (or recommit).

q. Recommit Sheet: A document prepared by the R&D Control Unit to be used
   when committing an inmate who is a recommitment.

r. Youth Rehabilitation Act (YRA) Study Commitment: A D.C. Superior Court
   commitment document ordering the observation and study of a youth defendant
   pursuant to Title 24, section 801 et seq. of the D.C. Code (YRA of 1985). The
   DCDC performs this study.
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8.    COMMITMENT PROCEDURES

     a. Receiving and Identifying Commitment Documents

         (1) Newly committed inmates received into the CDF shall be accompanied by
             one or more of the following documents:

             ?? Commitment Pending Disposition………………….……Attachment #1

             ?? Judgment and Commitment/Probation Order……….…Attachment #2

             ?? Writ of Habeas Corpus Ad Procequedum….…….……Attachment #3

             ?? Writ of Habeas Corpus Ad Testificandum…….……….Attachment #4

             ?? Order for Return of Fugitive Waiver
                (from nearby jurisdictions)…………………………..… Attachment #5

             ?? Order to Return Fugitive Upon Waiver …… ………….Attachment #6

             ?? U. S. Marshals Forms 40 ………..……………………. Attachment #7

             ?? U. S. Marshal Form 41 …………….…….…………….Attachment #8

             ?? U. S. Parole Commission Parole Violation Warrant...Attachment #9

             ?? D. C. Parole Commission Parole Violation Warrant...Attachment #10

             ?? Escape Report …………………………………………. Attachment #11

             ?? Recommit Sheet……………………………………….. Attachment #12

         (2) The LIE shall properly examine and interpret the above documents. A D.C.
             or U. S. Parole Violator Warrant and/or an Escape Report shall be
             researched for validity to ensure legality of confinement by telephoning the
             SLIE at the Record Office at the CDF to assure that the warrant is current.

         (3) The LIE assigned to the R&D Control Unit shall receive and thoroughly
             review for completeness all related commitment documents of inmates who
             are committed into the CDF.

         (4) The LIE shall check commitment documents for the following:

             ?? Inmate Name

             ?? Date of Birth

             ?? Gender
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        ?? Type of Commitment

        ?? Date of the Commitment Document

        ?? Case Number

        ?? Bond Status and/or Sentence (if any)

        ?? Signature of committing official

        ?? Court Seal

     (5) The LIE assigned to the Admission and Identification (A&I) Section shall
         ensure receipt of the following items with each commitment document/order
         received:

        ?? Face Sheet #1…. .Attachment #13

        ?? Fingerprint Card…Attachment #14

        ?? Photograph………Attachment #15

b. Issuance of DCDC Number

     (1) A six digit register number is assigned to each inmate committed to the
         DCDC. A consecutive numbering system is used to assign a number to
         each new commitment. The DCDC number is consecutively recorded in
         the Number Log Book.

     (2) The same number is always assigned to an individual inmate, regardless of
         the number of repeat commitments.

     (3) The LIE shall utilize the computer system to check for a prior issued DCDC
         number before issuing a new DCDC number.

     (4) If no number has been assigned previously, the next number in the Number
         Log Book is assigned and that assignment shall be entered in the Number
         Log Book.



c.   Receipt of Inmates

     (1) Upon receipt of commitment documents/orders, the LIE assigned to the
         R&D Control Unit shall review the documents and ensure a date/time stamp
         is affixed.
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    (2) The LIE shall determine if the inmate should be assigned his or her old
        DCDC number or issued a new DCDC number by comparing data on
        committing documents or orders with data from the computer system.

    (3) The LIE shall enter the inmate’s name and the PDID (Police Department
        Identification) number as reflected on committing documents or orders in
        the computer system to determine if a matching name and date of birth is
        listed. If so, the corresponding DCDC number listed shall be assigned to the
        inmate.

       ?? It is essential that the LIE cross reference (check) the various spelling
          of the names on all committing documents against the computer system
          and noting in the file that a different na me that appears in the computer
          system.

       ?? The LIE shall utilize the computer system manual for detailed
          instructions on codes and data entry transactions.

    (4) If the LIE is able to retrieve a DCDC number by utilizing the name and PDID
        number and the computer terminal reflects the record inactive, the inmate
        shall be assigned the DCDC number retrieved from the computer system.
        If the DCDC number retrieved from the computer system comes up “No
        Record Found” this number shall still be assigned to the inmate.

    (5) If the LIE is unable to obtain a matching DCDC number from the computer
        system, the LIE shall assign the inmate a new DCDC number.

    (6) After the LIE identifies the committed inmate’s DCDC number, the DCDC
        number shall be recorded on the inmate’s commitment documents/order
        and contact the R&D Processing Unit to give them the assigned DCDC
        number.

    (7) In the event inmates are committed and the computer system is inoperable,
        the LIE shall issue temporary DCDC numbers, beginning with 900000,
        which are found in the back o f the Number Log Book. As soon as the
        computer system is operable, replace each inmate’s temporary number with
        a permanent register number following the above procedures

    (8) The LIE assigned to the A&I (Admissions and Identification) Section shall
        correct any DCDC numbers which have been incorrectly assigned to a
        inmate. The number change form (Attachment #12) shall be completed and
        distributed on all number changes.

d. Receiving Parole Violators and Escapees

    (1) Parole Violators -- The U.S. District Court Marshal has assumed
        responsibility for notifying the U.S. Parole Commission when assuming
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            custody of parole violators and executing violator warrants. These cases
           are committed to DCDC custody on the basis of a Marshal’s Forms 40 and
           41 pending parole revocation and designation. These cases are committed
           to DCDC custody on the basis of a Marshal’s Forms 40 and 41 pending
           parole revocation.

       (2) Escapees -- All inmates being committed as return from abscond/escape
           status shall be accompanied by an escape report. The validity of such
           reports must be determined by the Records Office LIE assigned to the R&D
           Control Unit prior to accepting the inmates into the DCDC.

   e. Admission of Inmates to Serve Court Ordered Weekend Sentence.

      An individual who reports to D.C. Jail to begin service of his/her weekend
      sentence for the first time shall be identified by the LIE assigned to the R&D
      Control Unit. The LIE shall obtain the original judgment and commitment from
      the Records Office.

      After the first time, the weekender reports to the CDF and the R&D Officer signs
      him or her in on the clipboard.




                                              Odie Washington
                                              Director



Attachments
   Nos. 1 -15 As Stated in PS
